  Case 2:12-md-02327 Document 857-1 Filed 10/08/13 Page 1 of 1 PageID #: 10162


                                UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF WEST VIRGINIA
                                      CHARLESTON DIVISION

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IN RE ETHICON, INC., PELVIC REPAIR                             : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                      : MDL No. 2327
LITIGATION                                                     :
------------------------------------------------------------   : Judge Joseph R. Goodwin
This Document Applies To All Actions                           :
------------------------------------------------------------   X

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                      PLAINTIFFS’ CERTIFICATE OF SERVICE OF
              NOTICE TO TAKE ORAL DEPOSITION OF MARIANNE KAMINSKI

          I hereby certify that on October 8, 2013, I served Plaintiff’s Notice to Take Oral Deposition

of Marianne Kaminski via email and the foregoing document was electronically filed with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in this MDL.

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